Case 5:22-cv-04145-SMH-KK Document 17 Filed 06/23/23 Page 1 of 3 PageID #: 452




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


 LAFRENIERE MORRIS                                 :           DOCKET NO. 5:22-cv-04145


 VERSUS                                            :           JUDGE S MAURICE HICKS, JR

 FOREMOST INSURANCE CO
 GRAND RAPIDS MICHIGAN                             :           MAGISTRATE JUDGE KAY


                             REPORT AND RECOMMENDATION


        This suit was filed on plaintiff’s behalf by the firm McClenny Moseley & Associates,

 PLLC (“MMA”). Doc. 1. Plaintiff became a pro se litigant by operation of an order of this court

 styled “Order Terminating Former MMA Counsel from Proceedings, Designating Plaintiff a Pro

 Se Litigant, and Other Matters” (the “Termination Order”). Doc. 15. The Termination Order set a

 June 13, 2023, status conference that plaintiff was ordered to attend in person. The Termination

 Order additionally cautioned plaintiff that

            Should plaintiff fail to appear for this conference without having retained
            new counsel or without having sought to dismiss this suit by use of the
            attachment or otherwise, that failure to appear may result in adverse
            consequences such as a recommendation by the undersigned to the
            district court that the case be dismissed for failure of plaintiff to prosecute
            or abide by court orders.

 Id. (emphasis original).

        The court held the status conference on June 13, 2023, in the Tom Stagg United States

 Court House, 300 Fannin Street, Shreveport, Louisiana, in Courtroom 1. Doc. 16. Plaintiff did

 not appear for the status conference as instructed. Id. Plaintiff has not contacted chambers

 regarding the case.



                                                 -1-
Case 5:22-cv-04145-SMH-KK Document 17 Filed 06/23/23 Page 2 of 3 PageID #: 453




           Rule 1 of the Federal Rules of Civil Procedure, defining the scope and purpose of the rules

 governing procedure in civil actions and proceedings, instructs us to construe, administer, and

 employ the rules “to secure the just, speedy, and inexpensive determination of every action and

 proceeding.” Rule 41(b) of the Federal Rules of Civil Procedure “allows the district court to

 dismiss an action upon the motion of a defendant, or upon its own motion, for failure to prosecute.”

 Berry v. CIGNA/RSI-CIGNA, 975 F.2d 1188, 1190 (5th Cir. 1992); see also Campbell v. Wilkinson,

 988 F.3d 798, 801 (5th Cir. 2021)(discussing Berry). “The power to invoke this sanction is

 necessary in order to prevent undue delays in the disposition of pending cases and to avoid

 congestion in the calendars of the District Courts.” Link v. Wabash R. R. Co., 82 S. Ct. 1386, 1388

 (1962).

           For these reasons, we RECOMMEND to the district court that this matter be DISMISSED

 WITHOUT PREJUDICE for plaintiff’s failure to prosecute and abide by the orders of the court.

           Under the provisions of 28 U.S.C. §636 and Rule 72 of the Federal Rules of Civil

 Procedure, parties have fourteen (14) days from receipt of this Report and Recommendation to file

 written objections with the Clerk of Court. A party may respond to another party’s objections

 within fourteen (14) days after being served with a copy thereof. Failure to file written objections

 to the proposed factual findings and/or the proposed legal conclusions reflected in this Report and

 Recommendation within fourteen (14) days following the date of receipt shall bar an aggrieved

 party from attacking either the factual findings or the legal conclusions accepted by the District

 Court, except upon grounds of plain error. See Douglas v. United Services Automobile Ass’n, 79

 F.3d 1415, 1429-30 (5th Cir.1996).

           THUS DONE AND SIGNED in Chambers this 23rd day of June, 2023.




                                                  -2-
Case 5:22-cv-04145-SMH-KK Document 17 Filed 06/23/23 Page 3 of 3 PageID #: 454




                                     -3-
